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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                )
                                                         )              8:07CR71
                        Plaintiff,                       )
                                                         )
              vs.                                        )               ORDER
                                                         )
CANDIDO ALVA-DIAZ,                                       )
MARTIN CAMPOS-ALBARRAN,                                  )
MARTIN CAMPOS-CALDERON,                                  )
NOE HERNANDEZ-ROMERO,                                    )
SANTOS PENA and                                          )
SAMUEL HERNANDEZ-MONTILL,                                )
                                                         )
                    Defendants.                          )



        A pretrial conference pursuant to Fed. R. Crim. P. 17.1 was held in Courtroom No.
7, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on March
23, 2007. At the conference, the defendants were represented as follows:
        Defendant                               Counsel1

        Martin Campos-Albarran                  Mary C. Gryva (CJA)
        Martin Campos-Calderon                  Donald L. Schense (CJA)
        Noe Hernandez-Romero                    Justin D. Eichmann (for Dana C. Bradford - CJA)
        Santos Pena                             John J. Velasquez (CJA)
        Samuel Hernandez-Montill                Adam J. Sipple (CJA) (by telephone conference)

The government was represented by Assistant U.S. Attorney Kimberly C. Bunjer. Chad
Primmer, retained counsel for Candido Alva-Diaz, was delayed in Des Moines and unable
to attend.
        The conference was held to resolve some discovery issues and to schedule dates
for the filing of various motions. This case involves an indictment wherein it is alleged a
conspiracy to distribute methamphetamine is alleged to have occurred during a period of


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      (CJA) refers to counsel being appointed under the Criminal Justice Act, 18 U.S.C. § 3006A. A request
for interim CJA payments under the CJA will be forwarded to the Chief Judge of the Eighth Circuit.
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May 1, 2006 to February 2007 (Filing No. 1). The government has provided all counsel
with the items set forth in the April 11, 2005, letter from the United States Attorney to all
counsel (Conference Exhibit 1).
       After a discussion of the present state of the discovery, the following schedule is
established.
       IT IS ORDERED:
       1.      If after compliance with Rule 16 there is necessity for the filing of pretrial
motions, they shall be filed by April 20, 2007, and that time limit will not be extended by
the court except for good cause shown. In this connection, the United States Attorney shall
disclose Brady v. Maryland (and its progeny) material as soon as practicable. Should the
Defendant nonetheless file a motion for such disclosure, such motion shall state with
specificity the material sought. In the event that any motions are filed seeking bills of
particulars or discovery of facts, documents, or evidence, as part of the motion the moving
party shall recite that counsel for the movant has conferred with opposing counsel
regarding the subject of the motion in an attempt to reach agreement on the contested
matters without the involvement of the court and that such attempts have been
unsuccessful. The motion shall further state the dates and times of such conferences;
       2.      If any pretrial motion is filed by either side, the supporting brief required by
the provisions of NCrimR 12.3(b)(1) shall be simultaneously filed. Opposing briefs shall
be filed on or before May 2, 2007.
       3.      Motions in limine addressed to matters at trial shall be filed no earlier than
fourteen (14) days before a scheduled trial date, and no later than two (2) business days
before trial. Any motions filed outside this time period may be summarily denied.
       4.      The court finds that this case is unusual and complex due to the number of
defendants, the nature of the prosecution, and the existence of novel questions of law and
fact. For these reasons it is unreasonable to expect adequate preparation for pretrial
proceedings or for the trial itself within the time limits established by the Speedy Trial Act,
and the continuances requested by counsel for defendants serve the ends of justice and
outweigh the interests of the public and defendants in a speedy trial. See, 18 U.S.C. §



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3161(h)(8)(A) & (B). As a result, time is excluded from March 23, 2007 through and
including April 20, 2007.


      DATED this 23rd day of March, 2007.

                                             BY THE COURT:

                                             s/ Thomas D. Thalken
                                             United States Magistrate Judge




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